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IN THE UNlTED sTATES DISTRICT COURT "£D B" EY:. D.c.
FOR THE WESTERN I)ISTRICT 0F TENNESSEE 05 AUF
WESTERN I)IVISION ‘=’ 3' PH 3= 53
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THE UNITED STATES OF AMERICA
FOR THE USE AND BENEFIT OF
UPPER MISSOURI RIVER CORPORATION,

 

Plaintiff,
vs. No. 04-2980-B-V
BOONE CONSTRUCTION CO., INC. and
NORTH AMERICAN SPECIALTY
INSURANCE COMPANY,

Defendants.

 

-P'RGP-Q-SED AMENDED SCHEDULING PBHN o R|ggg

 

COME NOW the Plain.tiff, Upper Missouri River Corporation, and submits its Proposed

Arnended Scheduling Plan amending the Court’s March 16, 2005, Rule l6(b) Scheduling Order

as follows:
JOINING PARTIES:
For Plaintiff: September 23, 2005
For Defendant: October 24, 2005
AMENDING PLEADINGS:
F0r Plaintiff: September 23, 2005
For Defendant: October 24, 2005

COMPLETING ALL DISCOVERY: February 24, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and
REQUESTS FOR ADMISSIONS:

To be served Such that all answers and responses are due on or before February
24, 2006.

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(b) EXPERT DISCLosURE (Ruie 26(3)(2)):

(i) Plaintiff’ s Experts: October 24, 2005
(ii) Defendant’s Experts: November 24, 2005
(iii) Supplementation under Rule 26(e): December 5, 2005

(c) DEPOSITIONS OF EXPERTS: February 24, 2006
FILING })ISPOSITIVE MOTIONS: Ma.rch 24, 2006
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) F or Plaintiff: 45 days before trial
(b) For Defendant: 30 days before trial

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last two to three days. The presiding judge will re-
set this matter for NON-JURY TRIAL at a conference set after Magruder Construction
Company is added as a party. In the event the parties are unable to agree on a joint pretrial order,
the parties must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then
the discovery must be submitted at least 30 days prior to the deadline for completion of
discovery

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certiflcate of Consultation.

The opposing party may file a response to any motion filed in this matterl Neither party
may file an additional rely, however, without leave of the court. If` a party believes that a reply is

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necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises which precludes the matter from
proceeding to trial.

The parties are ordered to engage in court-annexed attorney mediation or private
mediation on or before the close ofa’r.'scoverv.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

IT IS SO ORDERED.

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DIANE K. VESCOVO
UNITEI) STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:04-CV-02980 was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

